             Case 2:23-cv-01760-BJR Document 11 Filed 01/29/24 Page 1 of 4




1                                                      THE HONORABLE THOMAS S. ZILLY
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6
                            UNITED STATES DISTRICT COURT
7                     WESTERN DISTRICT OF WASHINGTON AT SEATTLE

8    SHANNON SPENCER, individually and
     on behalf of all others similarly situated,         NO. 2:23-CV-01760-TSZ
9
                                                         STIPULATED MOTION FOR
                                    Plaintiff,           EXTENSION OF TIME AND
10
                                                         REQUEST TO STAY AND
11          v.                                           [PROPOSED] ORDER

12   RXO, INC., a foreign profit corporation;
     RXO LAST MILE, INC., a foreign profit               NOTE ON MOTION CALENDAR:
13   corporation; RXO CORPORATE                          January 29, 2024
     SOLUTIONS, LLC, a foreign limited
14
     liability company; RXO FREIGHT
15   FORWARDING, INC., a foreign profit
     corporation; RXO MANAGED
16   TRANSPORT, LLC, a foreign limited
     liability company; and DOES 1-20,
17
                                    Defendants
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            Plaintiff Shannon Spencer (“Plaintiff”) and Defendants RXO, Inc., RXO Last Mile, Inc.,
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     RXO Corporate Solutions, LLC, RXO Freight Forwarding, Inc., and RXO Managed Transport,
26
      STIPULATED MOTION FOR EXTENSION OF                      EMERY | REDDY, PLLC
      TIME AND REQUEST TO STAY AND                           600 Stewart Street, Suite 1100
      [PROPOSED] ORDER –1                                         Seattle, WA 98101
      (No. 2:23-CV-01760-TSZ)                         PHONE: (206) 442-9106 • FAX: (206) 441-9711
                Case 2:23-cv-01760-BJR Document 11 Filed 01/29/24 Page 2 of 4




1    LLC (the “RXO Defendants”) (collectively, the “Parties”), by and through their respective

2    undersigned counsel, respectfully submit this Stipulated Motion for Extension of Time and

3    Request to Stay.

4            Pursuant to the Court’s Order on December 12, 2023 (Dkt. 10), the Parties held a meet

5    and confer on January 10, 2024 and have agreed to extend the pending briefing schedule and

6    deadlines in order to explore alternative resolution and potential settlement. As such, the Parties

7    jointly request that the Court extend the current briefing schedule deadlines by 60 days as

8    follows:

9            1.      To re-note Defendant’s Motion to Dismiss from February 23, 2024 to April 23,

10   2024.

11           2.      For Plaintiff’s deadline to respond to Defendant’s Motion to Dismiss from

12   February 8, 2024 to April 8, 2024.

13           3.      For Defendant’s deadline to reply to Defendant’s Motion to Dismiss from

14   February 23, 2024 to April 23, 2024.

15           As a result of extending the briefing schedule, the Parties would also like to request a

16   stay of all early case deadlines, including the FRCP 26(f) Conference, Initial Disclosures and

17   the submission of a Joint Status Report.

18           The parties agree to submit a Joint Status Report within 60 days of entry of an Order

19   granting the requested stay apprising the Court of the status of any resolution.

20           WHEREFORE, the Parties respectfully request that the Court grant this Stipulated

21   Motion for Extension of Time and Request to Stay.

22

23   Respectfully submitted this 29th day of January , 2024.

24    By: /s/ Timothy W. Emery_________               By: /s/ Todd L. Nunn
      Timothy W. Emery, WSBA #34078                   Todd L. Nunn, WSBA # 23267
25                                                    K&L GATES LLP
      EMERY REDDY, PLLC
26    600 Stewart St., Suite 1100                     925 Fourth Avenue, Suite 2900
      STIPULATED MOTION FOR EXTENSION OF                          EMERY | REDDY, PLLC
      TIME AND REQUEST TO STAY AND                               600 Stewart Street, Suite 1100
      [PROPOSED] ORDER –2                                             Seattle, WA 98101
      (No. 2:23-CV-01760-TSZ)                             PHONE: (206) 442-9106 • FAX: (206) 441-9711
              Case 2:23-cv-01760-BJR Document 11 Filed 01/29/24 Page 3 of 4




      Seattle, WA 98101                                Seattle, WA 98104-1158
1     Telephone: (206) 442-9106                        Tel: +1 206 623 7580
2     Facsimile: (206) 441-9711                        Fax: +1 206 623 7022
      emeryt@emeryreddy.com                            Email: todd.nunn@klgates.com
3     Attorneys for Plaintiff                          Attorney for Defendants

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6                                                 ORDER

7             Upon consideration of the Parties’ Stipulated Motion for Extension of Time and Request

8    to Stay, the Court finds that good cause exists to extend filing deadlines and stay all early case
9    deadlines, and it is hereby ORDERED that this Motion is GRANTED.
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11            It is FURTHER ORDERED that the filing deadlines will be modified as follows:

12
      Event                             Current Date                     New Date
13

14    Re-note Defendant’s Motion        February 23, 2024                April 23, 2024
15    to Dismiss

16    Plaintiff’s Response to           February 8, 2024                 April 8, 2024
      Motion to Dismiss
17
      Defendant’s Reply to              February 23, 2024                April 23, 2024
18    Response to Motion to
      Dismiss
19

20            Parties shall file a Joint Status Report within 60 days of entry of this Order apprising

21   the court of any resolution.

22
              DATED this __ day of ___________, 2024
23

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26                                                          _________________________________
      STIPULATED MOTION FOR EXTENSION OF                           EMERY | REDDY, PLLC
      TIME AND REQUEST TO STAY AND                                600 Stewart Street, Suite 1100
      [PROPOSED] ORDER –3                                              Seattle, WA 98101
      (No. 2:23-CV-01760-TSZ)                              PHONE: (206) 442-9106 • FAX: (206) 441-9711
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                                            HONORABLE THOMAS S. ZILLY
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     STIPULATED MOTION FOR EXTENSION OF            EMERY | REDDY, PLLC
     TIME AND REQUEST TO STAY AND                 600 Stewart Street, Suite 1100
     [PROPOSED] ORDER –4                               Seattle, WA 98101
     (No. 2:23-CV-01760-TSZ)               PHONE: (206) 442-9106 • FAX: (206) 441-9711
